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         Exhibit A
        to Governor Henry McMaster’s and Director Michael Leach’s
                   Motion for Judgment on the Pleadings



              Letter from Governor McMaster to Steven Wagner,
               HHS Acting Assistant Secretary (Feb. 27, 2018)
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